        Case 3:11-cv-01898-L
                       IN THEDocument
                              UNITED294  Filed DISTRICT
                                      STATES   10/19/16 Page 1 of 2 PageID 7539
                                                         COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS


                              Alternative Dispute Resolution Summary

      Provider must file completed form, in duplicate, with the U.S. District Clerk upon
      completion of ADR.

1.    Civil Action number: 3:11-CV-1898-L

2.    Style of case:          Paragon Office Services, LLC, et al. v. Aetna Inc., et al.

3.    Nature of suit:          Contract Dispute
4.    Method of ADR used: ✔ Mediation                           Mini-Trial        Summary Jury Trial
5.    Date ADR session was held: October 11, 2016 (Plus other meetings and discussions)
6.    Outcome of ADR (Select one):
          Parties did not use my services.                     Settled, in part, as a result of ADR.
       ✔ Settled as a result of ADR.           Parties were unable to reach settlement.
         Continuing to work with parties to reach settlement (Note: provider must file supplemental
         ADR Summary Form at conclusion of his/her services).
7.    What was your TOTAL fee: $4,200

8.    Duration of ADR:      One day (plus)                                                 (i.e., one day, two hours)
9.    Please list persons in attendance (including party association, i.e., defendant, plaintiff):


      For Plaintiffs: Neal Fisher, M.D.
                      Vicki White

      For Defendants: Karen Chotiner



      Please provide the names, addresses, and telephone number of counsel on the reverse of this form.


10.   Provider information:
                           Digitally signed by John DeGroote

       John DeGroote       DN: cn=John DeGroote, o, ou,
                           email=jd@johndegroote.com, c=US
                           Date: 2016.10.19 09:35:26 -06'00'
                                                                                                       October 19, 2016
       Signature                                                                                       Date

       DeGroote Partners, LLC | 501 S 2nd Avenue A-700, Dallas | 75226                                 214-887-3484
       Address                                                                                         Telephone
  Case 3:11-cv-01898-L  Document
                   Alternative    294 Filed
                               Dispute       10/19/16
                                        Resolution    Page 2 of 2 PageID 7540
                                                    Summary
                                    Continued

Please provide the names, addresses, and telephone numbers of counsel:
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Firm: Andrews Kurth Kenyon LLP                  Firm: Rose • Walker, L.L.P.

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Name: Laura M. Trenaman, Esq.                   Name: Leighton Durham, Esq.

Firm: Andrews Kurth Kenyon LLP                  Firm: Kelly, Durham & Pittard, L.L.P.

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Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:
